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                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS


M.D., et al.

v.                                               Case Number: 2:11−cv−00084

Greg Abbott, et al.




                               NOTICE OF SETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.


Before the Honorable Janis Graham Jack
PLACE:
               United States Courthouse
               1133 N. Shoreline Blvd.
               Corpus Christi, Texas 78401
DATE:          4/12/2023
TIME:          09:00 AM
TYPE OF PROCEEDING:               Status Conference



Date: March 17, 2023
                                                            Nathan Ochsner, Clerk
